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 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6                                                   ***
 7   EAGLE SPE NV 1 INC.,                                     Case No. 2:12-cv-0550-MMD-PAL
 8                                           Plaintiff,                     ORDER
              v.
 9                                                                (Mot Stay Disc – Dkt. #75)
     SOUTHERN HIGHLANDS
10   DEVELOPMENT CORP.,
11                                         Defendant.
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13            Before the court is Defendants’ Motion to Stay Discovery (Dkt. #75). The court has
14   considered the motion and Plaintiff’s Limited Opposition (Dkt. #79).
15            Defendants seek to stay discovery until decision of a motion to dismiss Plaintiff’s second
16   amended complaint. This is one of a number of related cases concerning the applicability and
17   scope of NRS 40.459(1)(C) which limits the amount of a deficiency judgment a successor-
18   creditor may be awarded. Following a series of decisions from the Nevada Supreme Court and
19   judges in this district, the district judge dismissed Plaintiff’s first amended complaint holding
20   that NRS 40.459(1)(C) applies to this case. The order dismissed the complaint with leave to
21   amend.        Defendant claims that Plaintiff’s second amended complaint does not cure the
22   deficiencies which resulted in the initial dismissal and therefore moved to dismiss the second
23   amended complaint. The parties recently submitted a third stipulation and proposed order to
24   extend the deadline for Plaintiff to respond to Defendants’ motion to dismiss until October 10,
25   2014. The district judge granted the stipulation, and Plaintiff has now filed a response.
26            Plaintiff filed a limited opposition to state it did not oppose a stay while Defendant’s
27   motion to dismiss is pending but wanted to make clear that it disputes “each and every argument
28   made by Defendants that there is merit to Defendants’ Motion to Dismiss.”
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 1         Having reviewed and considered the matter,

 2         IT IS ORDERED that

 3         1. Defendant’s Motion to Stay Discovery is GRANTED.

 4         2. The parties shall have fourteen days from decision of Defendant’s Motion to Dismiss

 5            Second Amended Complaint in which to meet and confer and submit a proposed

 6            discovery plan and scheduling order in the event any claim survives.

 7         DATED this 23rd day of October, 2014.
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                                                        PEGGY A. LEEN
10                                                      UNITED STATES MAGISTRATE JUDGE
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